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                                          MINUTE ORDER                                                   Page 3

                                   Magistrate Judge Edwin G. Torres
                        King Building Courtroom 10-5                          Date: 1/8/2025      Time: 1:30 p.m.
Defendant: Artem Olegovich Alafyev           J#: 13968-506    Case #: 25-02012-MJ-TORRES
AUSA: Angela Benoit                                         Attorney: Robert Malove (TEMP)
Violation: Possession & Transportation of Child Pornography      Surr/Arrest Date:   YOB:

Proceeding: Pretrial Detention Hearing                            CJA Appt:
Bond/PTD Held:                          Recommended Bond:
Bond Set at: Pretrial Detention                                   Co-signed by:
     Surrender and/or do not obtain passports/travel docs               Language: English
     Report to PTS as directed/or            x’s a week/month by        Disposition:
     phone:          x’s a week/month in person                          Brady Order Not given. Prelim/ARR
     Random urine testing by Pretrial
     Services                                                            set for 1/21/25.
     Treatment as deemed necessary                                       The Government O/M for PTD based
     Refrain from excessive use of alcohol                               on danger and risk of flight. -GRT-
     Participate in mental health assessment & treatment                 Pretrial hearing held.
     Maintain or seek full-time employment/education                     S/A Kenny Silva sworn and testified.
     No contact with victims/witnesses, except through counsel           The finds that the Government has
     No firearms                                                         meant there burden based on
     Not to encumber property                                            danger, and Ordered the defendant

     May not visit transportation establishments                         detained Pretrial Detention.
     Home Confinement/Electronic Monitoring and/or
     Curfew          pm to           am, paid by
     Allowances: Medical needs, court appearances, attorney visits,
     religious, employment
     Travel extended to:
                                                                          Time from today to ________ excluded
     Other:                                                               from Speedy Trial Clock
NEXT COURT APPEARANCE      Date:           Time:         Judge:                          Place:
Report RE Counsel: 1/21/2025               10:00am         Duty                          Miami
PTD/Bond Hearing:
Prelim/Arraign or Removal:
Status Conference RE:
D.A.R. 13:43:54                                                   Time in Court: 25 mins
                                    s/Edwin G. Torres                                 Magistrate Judge
